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 1   [Parties and Counsel Listed on Signature Pages]
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 7
                                     UNITED STATES DISTRICT COURT
 8
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
                                                  MDL No. 3047
10    IN RE: SOCIAL MEDIA ADOLESCENT
      ADDICTION/PERSONAL INJURY PRODUCTS          Case No. 4:22-md-03047-YGR (PHK)
11    LIABILITY LITIGATION
                                                  AGENDA AND JOINT STATEMENT
12    This Document Relates To:                   FOR OCTOBER 25, 2024, CASE
13                                                MANAGEMENT CONFERENCE
      ALL ACTIONS
14                                                Judge: Hon. Yvonne Gonzalez Rogers

15                                                               Magistrate Judge: Hon. Peter H. Kang
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                52381783.2 AGENDA AND JOINT STATEMENT FOR OCTOBER 25, 2024, CASE MANAGEMENT CONFERENCE
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 1
             Pursuant to Case Management Order (“CMO”) No. 1 (ECF 75), the Parties submit this agenda
 2
     and joint statement in advance of the October 25, 2024 Case Management Conference (“CMC”).
 3
     I.      Update on Pending Motions
 4
             The Court has taken under submission Defendants’ motions to dismiss the following:
 5
             ● Personal Injury Plaintiffs’ (“PI Plaintiffs”) claims against Mark Zuckerberg;
 6
             ● PI Plaintiffs’ claims for non-product negligence (Count 5), wrongful death and survival claims
 7
                 (Counts 16-17), and parental claims for loss of consortium, loss of services, and medical
 8
                 expenses (Count 18), as well as claims alleging CSAM violations (Counts 12 and 14 asserted
 9
                 against Meta only) asserted in the Second Amended Master Complaint (ECF No. 494)
10
                 (“Master Complaint”);
11
             ● Claims asserted in certain PI Plaintiffs’ short form complaints against Snap;
12
             ● Claims in the School District and Local Government Entities’ Master Complaint; and
13
             ● Claims in Florida’s Amended Complaint.
14
     On October 15, 2024, the Court largely denied Defendants’ motion to dismiss claims asserted in the
15
     Multistate AGs’ Complaint and PI consumer protection claims and misrepresentation claims against Meta.
16
     ECF 1214.
17
     II.     Motion for Relief from State Agency Discovery Order
18
             On September 20, 2024, the State AGs filed a Motion for Relief (ECF No. 1168) from
19
     Magistrate Kang’s pretrial Order regarding state agency discovery (ECF No. 1117). Meta’s Opposition
20
     (ECF No. 1181) was filed on September 27, 2024 and the State AGs replied on October 4, 2024 (ECF
21
     No. 1194), thereby completing briefing on the Motion.
22
             The State AGs moved the Court to set a hearing on the Motion on October 16, 2024 (ECF No.
23
     1218). The State AGs requested oral argument collectively and on behalf of numerous individual states.
24
     The Court will hear oral argument on October 25, 2024.
25
     III.    Scope of the Anticipated Dispositive and Rule 702 Motions
26
             Plaintiffs’ Statement: Plaintiffs do not currently anticipate filing any case-dispositive motions,
27
     but they reserve the right to do so based on the development of discovery in this litigation. Plaintiffs do
28
                                                          2
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 1
     not anticipate seeking leave to depart from the Court’s Standing Order in Civil Cases on Motions for
 2
     Summary Judgment, subsection (b), which provides: “All issues shall be contained within one motion,
 3
     may not exceed twenty-five pages in length, and shall conform to Civil Local Rule 7-2. Only one
 4
     summary judgment motion may be filed collectively per side, absent leave of court.”
 5
            At present, Plaintiffs anticipate that they will have a total of approximately 20 experts, with
 6
     roughly half general liability and causation experts and half case-specific experts, for the 24 bellwether
 7
     plaintiffs. Plaintiffs are not able to opine on the number or scope of potential Rule 702 motions, as they
 8
     are unaware of the identity of Defendants’ experts and those experts’ opinions. Plaintiffs do not
 9
     anticipate seeking leave to depart from the Court’s Standing Order in Civil Cases on Daubert Motions,
10
     which provides: “Each side is limited to three Daubert motions throughout the entire case absent leave
11
     of court.” Defendants’ preliminary efforts to seek such leave, as set forth below, include improper and
12
     premature argument and conjecture about the scientific evidence Plaintiffs intend to present. Such
13
     baseless speculation should not influence the schedule for this case. Before filing this CMCS, Plaintiffs
14
     made clear that they believed Defendants’ premature Daubert briefing was improper, but Defendants
15
     refused to remove it from their position statement. In addition, Defendants mischaracterize the recent
16
     revisions to Rule 702, which, as this Court has previously recognized, “merely codified what was
17
     already the prevailing understanding of Rule 702’s requirements.” United States v. Medtronic, Inc., 2024
18
     WL 4002842, at *9 (C.D. Cal. July 22, 2024) (quotation marks omitted); see id. (stating that the 2023
19
     amendments were “not intended to alter the application of the rule but instead to correct the
20
     misunderstanding of a narrow subset of ‘courts that have failed to apply correctly its reliability
21
     requirements’” (alteration adopted) (quoting Fed. R. Evid. 702, adv. comm. note to 2023 Amendments)).
22
     These non-substantive changes do not justify Defendants’ efforts to evade this Court’s Standing Order.
23
            Defendants’ Statement: Summary judgment and Rule 702 motions will be important to
24
     streamline, if not resolve, this MDL. Defendants cannot yet commit to the precise number or scope of
25
     these motions for several reasons: motions to dismiss for some plaintiffs and claims are still pending, no
26
     plaintiff has yet to sit for a deposition, and Defendants are unaware of the specific opinions of Plaintiffs’
27

28
                                                           3
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 1
     experts or their methodologies. Defendants have nevertheless tried to provide the Court with more
 2
     information to facilitate scheduling.
 3
            For summary judgment motions, the existence of multiple cases likely means that several
 4
     motions will be necessary. While one motion for each individual PI case and each SD case may be
 5
     workable, Defendants may seek to reallocate the page-number limits between summary judgment
 6
     motions where Defendants believe that doing so would be more efficient and expedient for the Court.
 7
     The issues for summary judgment, and the pages needed to draft them, will also be significantly
 8
     impacted by the claims asserted by a particular bellwether plaintiff and the Court’s anticipated ruling on
 9
     the pending motions to dismiss. Defendants may require more than 25 pages for any broader, cross-
10
     cutting summary judgment motions. In addition, Meta is likely to require more than 25 pages to address
11
     the state-law claims brought by 35 separate AGs.
12
            As for Rule 702 motions, Defendants anticipate that several motions will be necessary given the
13
     number of experts Plaintiffs intend to rely on and the novelty and complexity of the scientific and
14
     medical causation issues involved in these cases. First, Plaintiffs reportedly intend to disclose over 20
15
     experts. At present, the specific opinions of each expert and the methodologies underlying their
16
     opinions remain unknown, but Rule 702 was recently amended “to clarify and emphasize that expert
17
     testimony may not be admitted unless the proponent demonstrates to the court that it is more likely than
18
     not that the proffered testimony meets the admissibility requirements set forth in the rule.” Fed. R. Evid.
19
     702 (2023 Comm. Notes). Defendants will endeavor to be judicious in bringing expert challenges, but
20
     reserve their right to challenge those Plaintiffs’ experts where Plaintiffs have not met their burden to
21
     demonstrate the expert’s methods are “more likely than not” reliable and that each of their opinions
22
     follows from a reliable application of their methodology to the facts at issue.
23
            Second, Defendants will likely need to file multiple Rule 702 motions because there is a dearth
24
     of scientific evidence to support Plaintiffs’ novel claims. Plaintiffs bear the burden of providing reliable
25
     and relevant scientific evidence to prove that the specific features of Defendants’ services they challenge
26
     cause both addiction and the specific disparate resulting injuries they allege (e.g., depression, anxiety,
27
     eating disorders, suicidality, suicide, etc.). This burden presents significant challenges for Plaintiffs
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                                                           4
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 1   because notwithstanding broad cultural discussion around social media use, the scientific literature does
 2   not establish that using Defendants’ services causes mental health disorders. Plaintiffs even
 3   acknowledge that “social media addiction” is not recognized by The Diagnostic and Statistical Manual
 4   of Mental Disorders, version 5 text rev. (DSM-5-TR), which is the standard classification of mental
 5   health disorders used by mental health professionals for the diagnosis and treatment of mental health
 6   disorders. The absence of scientific support for the core theories alleged here therefore raises significant
 7   questions—for the Court to resolve—about whether Plaintiffs can meet their burden under Rule 702 of
 8   marshaling reliable expert testimony that the “design” features about which they complain are capable of
 9   causing a medically recognized condition of “addiction” and the claimed mental health disorders.
10          To the extent warranted, Defendants may be able to bring cross-cutting Rule 702 motions that
11   address substantive problems across Plaintiffs’ experts. However, departure from the Court’s 3-motion
12   limit for individual civil cases will almost certainly be necessary in these circumstances given the
13   magnitude of this litigation, the state of the science, and the novel nature of the claims at issue.
14          Defendants are familiar with—and appreciate the efficiencies created by—the Court’s Standing
15   Orders for individual civil cases. However, in the MDL setting, in which multiple civil cases will be
16   litigated fully, with implications for an even larger case pool, additional motions for summary judgment
17   and Rule 702 motions will likely be necessary. Defendants will be better positioned to offer their views
18   on the specifics of these issues following Plaintiffs’ opening expert disclosures.1
19   IV.    Revisions to Case Schedule in Light of JCCP Developments
20          Plaintiffs’ Statement: The JCCP court has addressed the case schedule at three recent hearings,
21   at which the MDL case schedule was also discussed, with MDL Co-Lead Counsel Lexi Hazam
22   addressing the JCCP court on behalf of the MDL Plaintiffs. At the October 3 JCCP status conference,
23   Judge Kuhl reiterated—as did both MDL and JCCP Plaintiffs—the importance of scheduling expert
24   discovery so as “not [to] repeat depositions of experts” across the MDL and JCCP. Oct. 3, 2024 JCCP
25

26   1
       See Manual for Complex Litigation, Fourth, § 23.353 (emphasis added) (motions to exclude expert
     testimony “often will be accompanied by a motion for summary judgment. Regardless of the form, the
27
     movant should set forth specific deficiencies in the expert’s report or proposed evidence so that the
28   motion may be handled in an economic and expeditious fashion.” (emphasis added)).
                                                           5
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 1
     Hr’g Tr. (attached as Exhibit A) at 33. Judge Kuhl also stated her intention “to get the general causation
 2
     Sargon motion briefed in August.” Id. Judge Kuhl further indicated that to accomplish both these goals
 3
     the MDL schedule would need adjustment, and asked the Parties to meet and confer regarding same and
 4
     then address with the MDL Court. See id. at 33–34.
 5
            Throughout the litigation, both the MDL and JCCP courts have urged coordination for efficiency
 6
     purposes,2 and Plaintiffs in both litigations have made every effort to coordinate effectively, across
 7
     plaintiff groups (including the AGs) and across courts (including state courts where AG claims are also
 8
     pending). As just one example, Plaintiffs have made every effort to ensure that Meta fact witnesses will
 9
     sit for deposition only once, with each deposition cross-noticed by all plaintiffs spanning at least four
10
     jurisdictions. MDL and JCCP plaintiffs have also consistently asserted that it would be most efficient
11
     and effective for plaintiffs across both litigations to coordinate expert discovery, particularly given that a
12
     considerable number of experts are shared among plaintiffs. To that end, Plaintiffs believe that aligning
13
     the case schedules for expert discovery in the MDL and JCCP in a manner that accommodates Judge
14
     Kuhl’s intention to hold a Sargon hearing in August 2025 would allow the courts and the Parties to
15
     continue to reap the efficiency gains from coordination.
16
            Accordingly, Plaintiffs respectfully request that the Court modify the case schedule to align with
17
     the expert discovery dates proposed by the JCCP plaintiffs. Plaintiffs ask the Court to move up the
18
     deadline for non-case-specific expert reports to May 2, 2025 (from May 16, 2025), and the deadline for
19
     responsive reports to May 30, 2025 (from July 9, 2025 for Defendants’ responsive reports and July 30
20
     for Plaintiffs’ rebuttal reports). Plaintiffs also ask the Court to make these report deadlines simultaneous.
21
     Reducing the number of report deadlines from three to two via simultaneous (rather than staggered)
22
     disclosures—which are provided for by the California code3 and which Judge Kuhl indicated she viewed
23
     favorably here—would shorten the schedule and permit advancing the cut-off for expert discovery, to
24

25   2
       See, e.g., ECF No. 457 (Nov. 16, 2023 Case Mgmt. Conf. Hr’g Tr.) at 79–84 (discussing coordination
26   of discovery in MDL and JCCP); ECF No. 267-3 (May 3, 2023 JCCP Minute Order) at 2 (“Discovery in
     the MDL proceeding and in this JCCP proceeding should be coordinated.”).
27   3
      Cal. Code Civ. Proc. § 2034.210(a) (requiring “a mutual and simultaneous exchange” of expert
28   opinions).
                                                           6
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 1
     July 18, 2025 (from August 27, 2025). This in turn would permit the JCCP court to hold a Sargon
 2
     hearing on August 29, 2025, as proposed by the JCCP Plaintiffs in accordance with Judge Kuhl’s
 3
     guidance, and would also allow this Court to hold Daubert hearing(s) earlier than the Parties had
 4
     previously proposed.
 5
             While this proposal differs from the recently-adjusted case schedule, Plaintiffs note that the
 6
     Parties negotiated that schedule before the subsequent developments discussed herein. Indeed, one of the
 7
     goals of the current case schedule was to ensure efficient coordination with the JCCP on expert
 8
     discovery. It has only recently become clear based on JCCP hearings that this coordination is impossible
 9
     under the Court’s current schedule, including the provision for staggered expert disclosures. Given the
10
     benefits to the courts and parties of such coordination on expert discovery, and the inefficiencies and
11
     unfairness that would occur without it, Plaintiffs submit that their revised proposed schedule, including
12
     simultaneous disclosures, is warranted and should be adopted.
13
            Plaintiffs also ask the Court to move up the identification of the bellwether trial pool to precede
14
     the exchange of expert reports, as is taking place in the JCCP. See Sept. 16, 2024 JCCP Minute Order at
15
     2 (attached as Exhibit B) (“Selection of bellwether trial pool – March 7, 2025”). Plaintiffs propose that
16
     this hearing take place at the end of March 2025. This adjustment would yield efficiency gains by
17
     ensuring the Parties do not engage in unnecessary case-specific expert discovery, while still permitting
18
     case selection based on a fulsome factual record.
19
            Finally, Plaintiffs ask the Court to adopt a two-step briefing process on Rule 702 motions:
20
     submission of fully briefed Daubert motions with respect to non-case-specific experts first, in
21
     September 2025, followed by Daubert motions with respect to case-specific experts and other summary
22
     judgment motions in October 2025.4 Defendants try to make hay out of Plaintiffs’ transparency
23

24
     4
25     Defendants again intimate that the Court should order that expert discovery on general causation take
     place prior to the close of fact discovery. Both this Court, ECF No. 581 (CMO 8) at 2, and the JCCP
26   court have declined to adopt Defendants’ proposal, which Plaintiffs assert would result in unfairness and
     inefficiency given the causation evidence that the Court has recognized is uniquely in Defendants’
27
     possession. Such a schedule would encourage gamesmanship in deposition scheduling and risk a need
28   for redoing expert reports.
                                                          7
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 1
     regarding their anticipated number of experts. What Defendants neglect to mention is that they will
 2
     likely have at least as many experts, meaning Plaintiffs will have to abide by the exact same time
 3
     constraints regarding expert discovery. Plaintiffs are ready and willing to do so in the interest of moving
 4
     this litigation along as expeditiously and efficiently as possible.
 5
               These proposed modifications are set forth in the following table:
 6
         Event                                                              Plaintiffs’ Proposed Deadline
 7       Identification of Bellwether Trial Pools                           March 21, 2025
 8       Hearing Re Identification of Bellwether Trial Pools                March 28, 2025, or at the Court’s
                                                                            convenience
 9       Joint Status Report on Protocol for Production of Expert-Related   April 21, 20255
         Documents
10                                Non-Case Specific Expert Discovery and Daubert
         Non-Case-Specific Experts: Opening Reports                       May 2, 2025
11
         Non-Case-Specific Experts: Responsive Reports                    May 30, 2025
12       Close of Non-Case-Specific Expert Discovery                      July 18, 2025
         Rule 702 (Daubert) Motions on Non-Case-Specific Experts:         August 1, 2025
13       Opening Briefs
         Rule 702 (Daubert) Motions on Non-Case-Specific Experts:         August 22, 2025
14       Opposition Briefs
15       Rule 702 (Daubert) Motions on Non-Case-Specific Experts:         September 5, 2025
         Reply Briefs
16       Hearing on Rule 702 (Daubert) Motions on Non-Case-Specific       September 19, 20256
         Experts
17                  Case-Specific Expert Discovery and Daubert, and Other Dispositive Motions
18       Case-Specific Experts: Opening Reports                           July 18, 2025
         Case-Specific Experts: Responsive Reports                        August 15, 2025
19       Close of Case-Specific Expert Discovery                          September 12, 2025
         Rule 702 (Daubert) Motions on Case-Specific Experts and other September 22, 2025
20       Dispositive Motions: Opening Briefs
         Rule 702 (Daubert) Motions on Case-Specific Experts and other October 17, 2025
21
         Dispositive Motions: Opposition Briefs
22       Rule 702 (Daubert) Motions on Case-Specific Experts and other October 29, 2015
         Dispositive Motions: Reply Briefs
23       Hearing on Rule 702 (Daubert) Motions on Case-Specific           November 7, 2025, or at the
         Experts and other Dispositive Motions                            Court’s convenience
24

25
     5
26       This date is subject to modification by Judge Kang. ECF No. 1159 (CMO 17) at 2 n.1.
     6
      For reference, JCCP plaintiffs have proposed briefing non-case-specific Sargon motions as follows:
27
     opening briefs due on July 25; opposition briefs due on August 15; reply briefs due on August 22; and a
28   hearing before Judge Kuhl on August 29.
                                                           8
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 1
            Defendants’ Statement:
 2
            The Court should maintain the current expert case schedule in Case Management Order No. 17
 3
     and reject Plaintiffs’ attempt to change it. That schedule was extensively discussed and negotiated over
 4
     many weeks and just entered last month. Plaintiffs’ proposal to simply undo what they previously
 5
     agreed to and submitted to the Court would substantially prejudice Defendants in three significant ways:
 6
     (1) by eliminating the previously negotiated sequential exchange of expert reports; (2) by shortening the
 7
     already compressed period of eight weeks to a mere four weeks for Defendants to respond to Plaintiffs’
 8
     more-than-20 anticipated expert reports; and (3) by advancing the date for selection of bellwether trial
 9
     cases, further compressing the limited time afforded Defendants to take discovery of Plaintiffs. The
10
     resulting prejudice is not limited to just Defendants, as this newly proposed, hyper-compressed schedule
11
     would leave the Court with a mere two weeks to review the Parties’ Rule 702 motions before the
12
     proposed hearing date. It also likely would involve more expert reports and reports that do not speak
13
     directly to one another (as sequential reports do).
14
            The Court’s first schedule—CMO 10 entered in February 2024— and the more recent
15
     schedule—CMO 17 entered on September 18, 2024—recognized that there should be staggered
16
     disclosures of expert witnesses. ECF 604, ECF 1159. Such staggered disclosures are standard in
17
     federal litigation and reflect the fact that Plaintiffs bear the burden of both proving their case and, under
18
     Rule 702, of establishing the admissibility of the experts they use to meet that substantive burden of
19
     proof. As part of the latest modifications to the schedule, Defendants negotiated Plaintiffs’ agreement to
20
     a sequential exchange of reports, as well as more time between Plaintiffs’ disclosure of witnesses and
21
     Defendants’ disclosures. Such additional time is warranted by the novel theories those experts will be
22
     offering and the large volume of them that Plaintiffs have already disclosed through the Protective Order
23
     process.
24
            A few weeks later, at the October 3 CMC in the JCCP, Judge Kuhl stated that her “goal is to get
25
     the general causation Sargon motion briefed in August [2025].” 10/3/2024 JCCP CMC Tr. at 33:8-12.
26
     The MDL Plaintiffs now seek to use Judge Kuhl’s stated intent to prioritize resolution of the focused
27
     issue of general causation in the JCCP to eliminate aspects of CMO 17 that caused Defendants to agree
28
                                                           9
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 1
     to it, deprive Defendants of staggered reports, jam Defendants’ ability to file Rule 702 motions directed
 2
     at Plaintiffs’ experts in the MDL, and cut short this Court’s time to consider such motions. Specifically,
 3
     among other things, the MDL Plaintiffs’ proposed schedule is flawed in three key respects:
 4
            First, as a threshold matter, MDL Plaintiffs ignore the complexities present in the MDL not
 5
     present in the JCCP. While Defendants are mindful that Judge Kuhl may set a different schedule in the
 6
     JCCP where there is only a single personal injury track proceeding, here in the MDL, there are currently
 7
     three different tracks of cases pending.
 8
            Second, Plaintiffs’ proposed shrinking of the expert intervals is not practical. By their own
 9
     admission, Plaintiffs anticipate disclosing 20 experts, with roughly half covering general liability and
10
     general causation issues. Yet Plaintiffs’ proposed schedule provides: (1) only three months (May 2-
11
     August 1, 2025) for the Parties to complete all such general, “non-case-specific” expert reports, rebuttal
12
     reports, and depositions and to file any Rule 702 motions; (2) less than three months (May 2-July 18,
13
     2025) for the Parties to depose dozens of experts; and (3) only two weeks (September 5-19, 2025) for
14
     the Court to digest the expert reports, depositions, and Rule 702 briefing. These deadlines are not
15
     reasonable or workable. Moreover, Plaintiffs’ proposed schedule calls for simultaneous disclosures of
16
     experts and then provides for only four weeks before rebuttal reports (as opposed to CMO 17, which
17
     provides for two months after Plaintiffs’ disclosures for Defendants to disclose their experts, followed
18
     by three additional weeks for rebuttal reports).
19
            These cases raise novel scientific issues that require this Court to rule on never-before-litigated
20
     theories, including whether each Plaintiff can meet their burden of providing reliable and relevant
21
     scientific evidence to prove that the specific features of Defendants’ services they challenge cause both
22
     addiction and the specific disparate resulting injuries they allege (e.g., depression, anxiety, eating
23
     disorders, suicidality, suicide, etc.). The novelty and complexity of the scientific and medical causation
24
     issues alone will take time to explore, and the recently amended case schedule (CMO No. 17) accounts
25
     for that. Indeed, a critical component of the Parties’ negotiations which gave Plaintiffs four more
26
     months to complete fact discovery was Defendants’ view that more time was needed for expert
27
     discovery and admissibility challenges. Plaintiffs should not be permitted to backpedal and undo the
28
                                                          10
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 1
     significant work that has gone into the current schedule.
 2
            Third, Plaintiffs’ proposal is overbroad. As noted above, Judge Kuhl intends to adjudicate
 3
     general causation challenges early, and the Parties are working in the JCCP to submit a schedule to that
 4
     end. As this Court is aware, Defendants previously petitioned this Court to set early deadlines in the
 5
     personal injury cases for the Parties’ disclosure of general causation experts and for filing and
 6
     adjudicating Rule 702 motions concerning the admissibility of those experts’ testimony. In fact,
 7
     Defendants are open to the possibility of aligning the general causation expert reports and briefing
 8
     schedules across the MDL and JCCP—so long as that early phase of the schedule focuses exclusively on
 9
     general causation and allows sufficient time for the Parties to complete general causation expert reports,
10
     depositions, and Rule 702/Sargon motions and for the Courts to resolve those issues.
11
            But through the above proposal, the MDL Plaintiffs are attempting to expand the concept of
12
     general causation to include general company liability issues. Those issues exceed the scope of the
13
     limited question of general causation—whether the specific features of Defendants’ services Plaintiffs
14
     challenge cause both addiction and the specific disparate resulting injuries Plaintiffs allege (subject to
15
     Section 230 and First Amendment limitations)—and therefore should be deferred to a later time.7 The
16
     Court should, therefore, reject Plaintiffs’ proposal and proceed with the extensively negotiated case
17
     schedule set forth by the Court in CMO No. 17.
18
            To date, the JCCP Court has not yet entered an expert schedule, though Judge Kuhl has
19
     expressed a desire for Sargon briefing on general causation to be completed in August 2025.8 The
20

21   7
       There is no reason to accelerate these non-general causation liability issues. Indeed, the only purpose
22   that taking up early company liability issues serves is to give Plaintiffs a basis to insist on fact discovery
     closing before they confront their burden to prove general causation, an issue of pure science that they
23   can easily address before the close of fact discovery. For example, Plaintiffs previously claimed that
     before they could address general causation, they needed information on the “nature of the relevant
24   features in Defendants [sic] platforms and how those features affect interaction with the platform” and
     well as “Defendants’ own testing, observations, and knowledge of how their platforms’ features impact
25
     user behavior, mental health, and emotional states.” At this juncture, Defendants have already largely
26   produced such “internal research,” so to the extent the Court is inclined, it could accelerate the deadlines
     for disclosure of general causation experts to before the close of fact discovery.
27   8
      Defendants previously proposed that the JCCP Court adopt the negotiated MDL expert schedule. This
28   proposal has not been adopted by the JCCP Court.
                                                          11
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 1
     parties’ next joint statement in the JCCP is not due until November 12. Defendants are still evaluating
 2
     what a manageable JCCP expert schedule may look like to accommodate Judge Kuhl’s directive (and
 3
     given the progress of bellwether discovery there) and will update the Court following the submission of
 4
     the Parties’ competing proposals. Ultimately, given Judge Kuhl’s stated directive on the timing of
 5
     Sargon general causation briefing, Defendants are prepared to proceed with prioritizing general
 6
     causation in the JCCP without revisiting the MDL schedule that the Parties just renegotiated and that the
 7
     Court just entered after extensive discussions and consideration. Defendants, of course, will continue to
 8
     work with JCCP and MDL leadership to coordinate across proceedings and to minimize unnecessary
 9
     duplication of discovery and other pretrial efforts to the extent practicable.
10
     V.     Expert Report Certification
11
            Plaintiffs’ Statement: Plaintiffs endorse the Court’s suggestion that the Parties’ expert reports
12
     include a certification regarding experts’ “overriding duty” to the Court which provides: “(1) It is the
13
     duty of experts to help the court on matters within their expertise. (2) This duty overrides any obligation
14
     to the person from whom experts have received instructions or by whom they are paid.” See ECF No.
15
     1159 at 6.
16
            Plaintiffs believe Defendants misconstrue the Court’s proposed certification in seeking to
17
     reframe it as a “Rule 11 requirement for experts” given the unique obligations Rule 11 imposes on
18
     attorneys as officers of the Court. In any event, the Court should not adopt Defendants’ proposals in (c)
19
     and (d), below. This is an attempt to inject new standards not relevant to the Court’s proposal at the last
20
     CMC and end run the Court’s determination as to Daubert motions.
21
            Defendants’ Statement: Defendants appreciate the Court’s concern about the volume of expert
22
     witnesses that may be disclosed in this case and the Court’s related inquiry as to whether all experts
23
     required to provide reports under Rule 702 would be willing to sign an expert certification to facilitate
24
     the efficiency of these MDL proceedings, something akin to a Rule 11 requirement for experts.
25
     9/13/2024 CMC Tr. at 77:14-19.
26
            Defendants propose that each party-appointed expert offering opinions in this proceeding should
27
     include in his/her expert report a certification acknowledging that (a) they owe a primary and overriding
28
                                                          12
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 1   duty of candor to the Court in all submissions to, or testimony before, the Court; (b) their report and
 2   opinions are not being presented for any improper purpose, such as to harass, cause unnecessary delay,
 3   or needlessly increase the cost of litigation; (c) their opinions are warranted by existing science and are
 4   consistent with their published research and writings; and (d) their opinions on the application of
 5   existing science to the facts of this case, including regarding the condition or conduct of any party, are
 6   reliably based on evidentiary support. Defendants do not support an express reference to or adoption of
 7   the UK rule to avoid unintended consequences that might have. The UK judicial process, and the
 8   context for the UK rule, are different from our Federal Rules of Civil Procedure and Federal Rules of
 9   Evidence. As one example, under Rule 706 of the Federal Rules of Evidence, the Court may appoint
10   experts that owe duties only to the Court.
11   VI.     Discovery Update
12           A copy of the Parties’ DMC Statement for the October 24, 2024 DMC, due this same date, will
13   be sent by email to Judge Gonzalez Rogers after it is filed.
14   VII.    JCCP Status Update
15           On September 16, 2024, Judge Kuhl held a status conference to continue discussions regarding
16   the JCCP case schedule and ordered various discovery deadlines as outlined in the attached Minute
17   Order (Ex. B). Judge Kuhl ordered the Parties to further meet and confer regarding deadlines that
18   pertain to expert discovery and motions, which was further discussed at subsequent status conferences
19   on September 25 and October 3, 2024. See Minute Orders (Ex. C and D). The Parties continue to meet
20   and confer regarding the schedule for expert discovery and Sargon motions. At a future status
21   conference, the parties will present their positions on the expert discovery schedule for further
22   consideration by the Court.
23           In addition, at the October 3, 2024, status conference, Judge Kuhl addressed ongoing discovery
24   issues related to the bellwether plaintiff discovery pool. During the conference, the Court directed
25   counsel to continue working collaboratively on resolving the outstanding discovery matters, with a
26   deadline of October 9, 2024, to complete conferrals. Follow-up status conference were held on October
27   10 and 14, 2024, and Judge Kuhl heard from counsel on the remaining discovery disputes concerning
28   the Defendants' responses to bellwether-specific requests for production (RFPs), the timing of Plaintiffs’
                                                        13
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 1
     productions, and supplementation of Plaintiffs’ interrogatory responses. The Court has instructed the
 2
     parties to resolve the remaining disputes expeditiously.
 3
            At the October 10, 2024, conference, Judge Kuhl also heard argument on Defendants’ demurrer
 4
     and motion to strike Plaintiffs’ non-product negligent failure-to-warn claims which was taken under
 5
     submission by the Court for a later ruling.
 6
     VIII. Discussions with Counsel in Abraham
 7
            Boies Schiller’s Position: The Abraham class action seeks to represent the interests of millions
 8
     of minors nationwide, who, at present, are not represented and have had no real voice in this litigation.
 9
     While there are two other class actions in this case, there is little demonstrable progress in either of
10
     those, and they do not cover minors nationwide from ages 14 to 17. Given that reality, a separate class
11
     action track in this MDL, a step that many other MDLs have taken, makes eminent sense.
12
            MDL lead counsel’s main arguments for why a separate class action track is unnecessary is that
13
     (1) the lawsuits filed by the Attorneys General of 35 states and the two prior-filed class actions would
14
     vindicate the rights of those covered by the Abraham class and (2) there has been lengthy fact discovery
15
     up to this point (which, they say, is nearing a close).9 This is not the case.
16
            First, the leaders of the Plaintiffs’ steering committee—made up entirely of counsel who
17
     represent individuals except for one attorney—have unsurprisingly focused on fact discovery and
18
     litigation steps that are appropriate for individual claims and suggest bellwether trials. Obviously, the
19
     litigation of a class action is quite different, and as time has passed in this litigation (which counsel in
20
     Abraham readily admits) it has only become more apparent that (1) the type of class action brought by
21
     Abraham is necessary to vindicate the rights of minors nationwide and (2) that a separate track for such
22
     an approach will singularly aid the same. Indeed, although two years into the MDL, the most recent
23
     case management order still includes no specific deadlines in its “Pretrial Schedule” for class
24
     certification or class-related discovery. See Dkt. 1159 at 2–4. That leaves class action cases on the
25

26   9
      It is, however, not closed, and there remains time to involve class action counsel in upcoming
     depositions and to keep fact discovery open for class-specific discovery. Counsel in Abraham is
27
     committed to working on an expedited basis to avoid impacting the overall pace and schedule of the
28   MDL.
                                                           14
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 1   backburner. Instead, it is important to move swiftly on class actions that seek nationwide injunctive
 2   relief for all minors — relief that stops Meta from continuing its practices for all members of that class.
 3          Discovery needs of the Abraham class are not being, and cannot be addressed, by counsel
 4   focused on an individual case approach. Class action damages for the claims in the Abraham
 5   Complaint, including disgorgement under unjust enrichment, require specific data based on all minors
 6   (especially to show representativeness of the class claims) which would neither be a priority nor relevant
 7   to individual claimants in this MDL. Also, discovery related to injunctive relief, including but not
 8   limited to the technical feasibility of the changes demanded by Abraham, will be a major part of both
 9   certification for an injunctive relief class and the Court’s decision on ultimate relief. As far as counsel
10   for Abraham can ascertain, these issues are not being addressed in fact discovery. While Meta argues at
11   length in its portion of this CMC statement that these class actions are “unsuitable for class treatment,”
12   that has not been determined at this stage. Indeed, it is only after proper discovery tailored to the needs
13   of these class actions and briefing that the Court will consider if these class actions should be certified.
14   Meta’s conclusory arguments on this point are neither relevant nor accurate.
15          Abraham class action counsel do not seek to re-tread any ground that has been covered to date
16   nor to disrupt the current case proceedings. The proposed separate track would allow counsel who are
17   focused on litigating the full class of all U.S. minors to narrow in on what is needed in addition to what
18   discovery is being taken in the other tracks. For example, deposition questions related to issues relevant
19   to class certification, technical feasibility of classwide injunctive relief, classwide damages10, etc.
20   Abraham class counsel can and will act cooperatively with the other tracks. Abraham class counsel does
21   not seek to simply benefit from the work of others by being completely stayed in the MDL, but to
22   actively and zealously put in the work that is necessary to represent the needs of the class.
23          Meta repeatedly argues in its portion of this CMC statement that these differences between the
24   individual actions and the class actions are “immaterial,” but they fail to expand on why that is. Indeed,
25   they do not address the above arguments pertaining to class action discovery and briefing. Instead, Meta
26
     10
        Plaintiffs’ lead counsel argues that the Abraham Complaint is not viable as it does not seek
27
     certification under 23(b)(3). As they also state in their excerpt of this CMC statement, this is not an
28   issue as Plaintiff may seek to amend the complaint to address this.
                                                           15
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 1   opts to selectively cite the transcript from the last case management conference instead of addressing
 2   Abraham class counsel’s arguments in this CMC statement.
 3          Separate tracks for class actions are appropriate and have been successful in other MDL matters.
 4   Although this MDL has already established a general structure, the Court should not hesitate to make
 5   “structural adjustments as the needs of the MDL evolve.” In re Generic Pharms. Pricing Antitrust
 6   Litig., No. 16–MD–2724, MDL-2724, 315 F.Supp.3d 848, 855 (E.D. Pa. 2018). Indeed, separate tracks
 7   dedicated to class actions are not uncommon in large MDLs. For example, the MDL In re Marriott
 8   International, Inc., Customer Data Security Breach Litig., MDL No. 19-md-2879, had five separate
 9   tracks: a consumer class action track, government track, financial institutions class action track,
10   securities class action track, and a derivatives track. Several other courts managing MDLs also had one
11   track for individual claims and another for class actions. See, e.g., In Re: Philips Recalled CPAP, Bi-
12   Level Pap, and Mech. Ventilator Prods. Litig., 21-mc-01230, MDL No. 3014 (W.D. Pa. 2021)
13   (economic loss class along with individual injury cases); In re Domestic Drywall Antitrust Litig., Civil
14   Action 15-cv-1712, MDL No. 13-2437; In re Managed Care Litig., Case No. 1:00–MDL–1334; Kellogg
15   v. Watts Guerra LLP, 41 F.4th 1246, 1251–52 (10th Cir. 2022); Tech Data Corp. v. Au Optronics Corp.,
16   Case No: 8:11–cv–2454–T–33JSS, 2015 WL 12843886, at *1 (M.D. Fla. Oct. 22, 2015); In re:
17   SoClean, Inc., Mktg., Sales Pracs., and Prods., Liab. Litig., Master Docket No. 22-mc-152, MDL No.
18   3021. Similarly, some courts create a separate MDL track for individual claimants that opt out of a class
19   action settlement. See, e.g., In re Equifax, Inc., Customer Data Sec. Breach Litig., Case No. 1:17-md-
20   2800-TWT, MDL Docket No. 2800.
21          Second, the Abraham class is not represented by the prior lawsuits. As an initial matter, 35 states
22   are not all 50 states. But, more importantly, lawsuits brought by the state are not a complete
23   replacement for private, class action litigation. Separate class action counsel can zealously pursue the
24   rights of litigants in a manner that AGs cannot, including because of different budgetary and political
25   constraints.
26          The prior class action lawsuits also do not represent all minors throughout the United States.
27   The class action brought on behalf of minors, V.P. v. Meta Platforms Inc. (No. 22-cv-06617) (“V.P.”),
28   limits its class to minors under 13, as opposed to all minors, while the other class action lawsuit brought
                                                          16
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 1   out of Louisiana, Williams v. Meta Platforms, Inc. (No. 23-cv-04154) (“Williams”), has a class
 2   definition focused on Facebook (not Instagram), only includes an adult named plaintiff, not a minor, and
 3   does not contain the precise pleading that suggests it would be a viable vehicle to represent the rights of
 4   the millions covered by the Abraham lawsuit.
 5           There are also different claims in our complaint that are not present in either class action
 6   complaint. V.P. v. Meta Platforms Inc. (No. 22-cv-06617) (“V.P.”), at Dkt. 1 and Williams v. Meta
 7   Platforms, Inc. (No. 23-cv-04154) (“Williams”), at Dkt. 1. The Abraham Complaint includes claims
 8   involving negligence, design defect, several states’ consumer protection laws, and unjust enrichment
 9   related to Meta’s conduct. The V.P. Complaint includes claims under the Unruh Civil Rights Act, unjust
10   enrichment, and several, mostly different, state consumer protection laws. The Williams Complaint
11   includes claims related to intention and negligent inflection of emotional distress, fraud, negligence,
12   failure to warn, design defect, medical monitoring, and one state-based consumer protection law
13   (Louisiana Unfair Trade Practices and Consumer Protection Law). Additionally, the causes of action
14   there appear to be under Louisiana law. Williams Complaint ¶ 72. The classes defined in Abraham
15   Complaint include minors that used Instagram during the class period. Abraham Complaint ¶ 184. The
16   classes in V.P. include people under the age of thirteen that have Facebook and Instagram accounts and
17   used them for at least 25 hours at the time of class certification. V.P. Complaint ¶¶ 82–83. And in
18   Williams, the lead plaintiff is an adult individual from Louisiana and the putative class includes “all
19   individuals who used Facebook and suffered mental health issues as a result of the use of the Facebook
20   Platform.” Williams Compl. ¶ 11. While unclear, the Williams class action appears focused on just the
21   “Facebook Platform,” not Instagram.
22           While Abraham class counsel acknowledge that there is some overlap between the existing
23   tracks and the class actions, there are several features of this class action that are inherently different.
24   Critically, the Abraham Complaint does something no other case in this MDL does: seeks nationwide
25   injunctive relief to prevent Meta from implementing certain features on the Instagram accounts of
26   minors and conducting market research on minors. The state complaint does not (and cannot) do that;
27   the Williams complaint does not either. That means time is of the essence for class members, as every
28   month that passes means more minors on Instagram are irreparably harmed by the lack of such relief.
                                                     17
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 1           Given the aforementioned differences between this class action and the other cases in this MDL,
 2   and the fact that MDLs of this magnitude routinely set up a separate track for class action matters, an
 3   approach which includes a separate track for class actions would benefit all class members across the
 4   MDL. That is especially true given the record of the three law firms who represent the Abraham
 5   plaintiff, a record that suggests that they will move this case forward in a way that benefits all victims of
 6   the issues presented by Instagram use while working cooperatively with the lead plaintiffs to not re-tread
 7   the same ground.
 8           ***
 9           Accordingly, the Abraham counsel respectfully requests that the Court create a separate track in
10   this MDL for class actions.
11           PI/SD Plaintiffs’ Statement: In the previous Case Management Order, this Court “advised
12   counsel for Abraham to consult with the MDL plaintiffs” and ordered the Parties to update the Court at
13   this CMC. ECF No. 1159 at 5. MDL Co-Lead Counsel met and conferred with Abraham counsel and
14   invited the latter to provide an insert for this CMCS. Abraham counsel then furnished the below four-page
15   argument. Plaintiffs11 respond to some of the points made therein, but Plaintiffs ask that if the Court
16   requires more detail about Abraham counsel’s proposal to restructure this MDL, it do so with the benefit
17   of full briefing.
18           This case has been in active litigation for two years. During that time, Court-appointed Plaintiffs’
19   leadership have fought hard to advance the claims of children and teens from across the country who
20   suffered serious harms due to Defendants’ addictive platforms. Leadership spent a year vigorously
21   contesting complex motions and then nearly a year intensively pursuing liability discovery, bringing the
22   Parties close to completion of document discovery. Depositions of Meta witnesses are already noticed and
23   underway; they will come close to the total limits for the same set by Judge Kang.
24           Importantly, the work of Plaintiffs’ leadership has necessarily been informed by and redounded to
25   the benefit of each category of litigants raising claims against Meta, including personal injury plaintiffs,
26

27   11
       Mentions of “Plaintiffs” in this section refer only to PI/SD Plaintiffs. The State AGs have not been
28   involved these conversations and take no position on the issue.
                                                             18
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 1   school district plaintiffs, and the existing class plaintiffs—all constituencies of current members of
 2   leadership—as well as the State Attorneys General Plaintiffs. Just as is the case with new filings in the
 3   other categories, this work does and will continue to apply to the new Abraham class case.
 4              Abraham counsel could have sought to participate in this work alongside the over two dozen firms
 5   who have invested heavily in it to date,12 but instead, they filed their case midway into this litigation,
 6   belying the necessity of a separate class track.13 Creating such a track is not necessary in the near term
 7   and would risk delaying the aggressive case schedule the Court and Parties have strived for, as well as
 8   upsetting the litigation’s carefully balanced leadership structure very late in the game. As Abraham
 9   counsel say, time is of the essence in vindicating the rights of kids harmed by Defendants’ actions and
10   omissions. But the way to do that is to allow Plaintiffs’ counsel to rapidly and efficiently complete liability
11   discovery. The Parties can reassess at that time whether and how class proceedings may advance the case
12   further.
13              As Abraham counsel acknowledge, this MDL already includes two putative class action
14   complaints. The first, V.P. v. Meta Platforms, Inc., No. 4:22-cv-6617, was filed on September 27, 2022,
15   and removed to federal court on October 27, 2022. This means that for nearly the entirety of this MDL
16   (which was created on October 6, 2022), the V.P. complaint has been on file, and the counsel who filed it
17   (Seeger Weiss LLP and Social Media Victims Law Center) have been in Court-appointed leadership
18   positions. The second, Williams v. Meta Platforms, Inc., No. 4:23-cv-4154, was filed the following
19   summer, over a year ago.
20              Abraham counsel appear to wave away the significance of the existing and earlier-filed cases by
21   pointing to purported differences between those complaints and the one they recently filed. These
22   arguments misdescribe both the Abraham complaint and the existing class complaints, and their claims
23   appear to disregard this Court’s previous orders defining the scope of the litigation. The current Abraham
24
     12
        If Abraham counsel wants to contribute to the existing workstreams alongside the many others doing
25
     so rather than seek changes to the structure of the litigation that will disrupt its efficient progress at this
26   late juncture, Plaintiffs’ leadership have indicated openness to same.
     13
       Indeed, this approach differs from the cases they cite that involved a parallel “class action track.” In
27
     those, the courts instituted such a structure at the beginning of the case—not years into litigation, in the
28   middle of discovery.
                                                            19
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 1   complaint was not brought on behalf of all people who used Instagram when they were minors, as stated
 2   by counsel below; it was instead brought on behalf of “[a]ll minors . . . who use or have used Instagram
 3   during the Class Period.” That definition is limited to people who are currently minors. (The class
 4   definition may change. See Fed. R. Civ. P. 23(c)(1)(B). But that rejoinder is equally available to V.P. and
 5   Williams.)
 6          Abraham counsel also assert their complaint is the only one to seek “nationwide” relief. Not so.
 7   The V.P. complaint asserts claims for unjust enrichment on behalf of a nationwide class, including a
 8   request for nationwide injunctive relief. V.P. Compl. ¶ 114. And the Master Complaint as well as the State
 9   Attorneys’ General complaint already seek injunctive relief that would require Defendants to adopt
10   platform-wide changes (such as warning labels). ECF No. 494 at p.270. Relatedly, Abraham counsel claim
11   they are the only parties seeking classwide damages for “disgorgement under unjust enrichment.” Again,
12   that is not correct. The V.P. Complaint seeks such relief. V.P. Compl. ¶ 9. In addition, many of the
13   consumer protection claims—including those brought by the 35 State Attorneys General—seek similar
14   “disgorgement of ill-gotten gains.” ECF No. 1214 (Order Largely Denying Mot. to Dismiss) at 74. Thus,
15   the interests of the putative class members in Abraham are protected by the litigation as it stands, and the
16   discovery already sought covers all the Abraham claims and allegations.14
17          One final substantive point. It is unclear the extent to which the Abraham complaint as drafted is
18   viable as a matter of law. For instance, while Abraham seeks compensatory damages (Abraham Compl.
19   at p.80), the complaint does not seek certification under Rule 23(b)(3) as would be required for classwide
20   certification of monetary damages. The complaint instead seeks certification only under Rule 23(b)(2) and
21   (c)(4). While it is routine to amend complaints to resolve such defects, it does not make sense to upend
22   the structure of the litigation simply because someone filed an initial complaint with a very broad class
23

24
     14
       The only unique discovery class cases would require would be discovery on class representatives,
25
     which leadership submits is not necessary or appropriate at this time given the discovery on bellwether
26   plaintiffs and the existing, aggressive case schedule.

27

28
                                                         20
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 1   definition seeking very broad claims. This is especially true because it is not clear from the Abraham
 2   Complaint whether they are accounting for this Court’s prior rulings.15
 3           In sum, the litigation posture and schedule, the comprehensiveness of discovery being sought from
 4   Meta as to all existing and new plaintiffs, the adequacy of Court-appointed Plaintiffs’ leadership to
 5   continue pursuing that work zealously and effectively, and an assessment of the Abraham case as pled all
 6   weigh against the creation of a separate class action track at this juncture.
 7           Meta’s Position: The Court should not add an entirely new class track at this late date. First, none
 8   of the three class actions now pending in this MDL are suitable for class treatment—a conclusion that is
 9   apparent from the face of all three pleadings. Second, opening a class track would risk the progress of
10   hundreds of complex cases—cases pending for years that are nearing the end of an intensive document
11   discovery period—based on a single law firm’s belated attempt to intervene. Third, any discovery needed
12   by the putative class plaintiffs is adequately covered by the discovery being taken by the PI/SD and AG
13   Plaintiffs.
14           A.     The Putative Class Actions Are Fundamentally Unsuited to Class Treatment
15           As an initial matter, these cases are fundamentally unsuited to class treatment. Class treatment is
16   particularly inappropriate in the context of the claims alleged here given the wide range of specific harms
17   alleged by Plaintiffs, the individualized nature of the alleged use of the various platforms and features at
18   issue, the divergent alternative causes for the alleged injuries in these cases, and other case-specific facts.
19   See, e.g., Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 349–50 (2011) (“Commonality requires the
20   plaintiff to demonstrate that the class members have suffered the same injury.” (cleaned up)); Sweet v.
21   Pfizer, 232 F.R.D. 360, 372 (C.D. Cal. 2005) (recognizing inherent barriers to certifying classes in
22   personal injury cases). Indeed, that is precisely why the sophisticated law firms currently before the Court
23   have filed hundreds of individual cases with plaintiff-specific allegations in this MDL.
24           At the same time, the single proposed class representative’s personal injury claims can be
25   effectively litigated through the existing process for pursuing personal injury claims. Only lawyer
26

27   15
        Compare, e.g., Abraham Compl. at p.81 with ECF No. 1214 (Order Largely Denying Mot. to Dismiss)
28   at 25.
                                                           21
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 1   interests are favored by instead trying to funnel her claims through a class action that will bring her no
 2   real individual benefit and instead hamper the more efficient progression of her case.
 3          The unsuitability of these cases for class treatment alone justifies denying the untimely request for
 4   a separate class track.
 5          B.      Opening a Separate Class Track Could Risk the Progress of Hundreds of PI Cases
 6          Boies Schiller’s request to set up a separate “class track” should be denied for the additional reason
 7   that the PI/SD cases and State actions before the Court in this MDL are far along and nearing the end of
 8   document discovery. The first two PI cases currently in this MDL were filed nearly three years ago, and
 9   were coordinated before this Court two years ago. See Doffing v. Meta Platforms, Inc., et al., Case No.
10   4:22-cv-05892-YGR (N.D. Cal.), ECF 1 (January 2022 Complaint); ECF 1 (October 2022 JPML Transfer
11   Order). Since then, hundreds of individual cases have been filed by dozens of law firms and coordinated
12   into this proceeding (and the JCCP). That includes two putative class actions, one of which was filed by
13   a co-lead firm for the PI/SD Plaintiffs, Seeger Weiss. See Williams v. Meta Platforms, Inc., et al., Case
14   No. 4:23-cv-04154-YGR (N.D. Cal.); V.P. v. Meta Platforms, Inc., et al., Case No. 4:22-cv-06617-YGR
15   (N.D. Cal.). The Court has heard multiple motions to dismiss, rendered legal rulings that will guide the
16   cases going forward, and conducted extensive case management. Plaintiffs and Defendants have engaged
17   in weekly (and often near-daily) communications.
18          The discovery taken to date has been extensive and intensive. Judge Kang has settled numerous
19   formal discovery disputes and provided guidance on many other issues. Meta alone, for instance, has
20   produced more than 1.4 million documents (consisting of over 6 million pages). The discovery schedule
21   already required one extension, see ECF 1159 (CMO 17 setting modified schedule), and is weeks away
22   from the November 5 substantial completion deadline. And throughout, Boies Schiller has been absent.
23   See 9/13/24 CMC Tr. at 57:22–23 (Abraham counsel conceding that “we need to get up to speed with all
24   of the case management orders and what’s gone on with the case”).
25          It is simply not feasible at this late juncture to add an entirely new class track to these proceedings,
26   which could jeopardize the overall case schedule, and the close coordination and progress made by the
27   Parties to date. Boies Schiller’s response--that discovery is nearly closed but is not quite closed--is
28   misplaced: this CMC Statement is being filed just a few weeks away from the November 5 substantial
                                                      22
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 1   completion deadline for document productions; there is no reasonable way to start and conclude a new
 2   round of Defendant discovery in that time. And there is no warrant for doing so to accommodate one
 3   firm’s belated attempt to take over a small portion of the suits via a complaint filed in August 2024—
 4   nearly two years after coordination, nearly a year after the Court’s November 2023 order ruling on the
 5   first personal injury motion to dismiss, ECF 430, and years after two other putative class actions were
 6   already filed.
 7          C.        Any Discovery Needed by Putative Class Plaintiffs Is Covered by Existing Discovery
 8          What is more, while sizable variation in plaintiff-specific facts make these types of cases wholly
 9   unsuitable for class action treatment, any discovery that the putative class cases could reasonably need
10   from Meta (if the cases survived a motion to dismiss) would be (and has been) covered by the existing
11   suits and existing discovery.16 Not only are Boies Schiller’s assertions to the contrary incorrect (as
12   explained below); it also is unclear how they could possibly have a basis for their argument that the
13   discovery so far is inadequate: they have been totally uninvolved and have little idea what discovery has
14   been propounded and produced.
15          As the Court has already found, the common allegations against Meta mean that the existing MDL
16   cases and Abraham “concern substantially the same parties, property, transaction, or event,” and it
17   “appears likely that there will be an unduly burdensome duplication of labor and expense or conflicting
18   results if the cases are conducted before different Judges.” Civ. L.R. 3-12(a); see ECF 1099 (finding cases
19   related under this standard). The Complaint alleges that Meta attracts teen users to Instagram and includes
20   “addictive” features such as the use of recommendation algorithms, “Likes,” notifications, and others, and
21   that those features allegedly cause certain mental health harms in teens. In addition, the Complaint alleges
22   that Meta did not adequately verify ages of users (and makes reference to COPPA) and or warn consumers
23   about the alleged harms of Instagram. See generally ECF 1081.
24

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     16
       Meta does not concede that the named plaintiffs in the putative class actions are adequate
26   representatives for the proposed classes under Rule 23 and reserves all rights with respect to that issue.
     Discovery into the named plaintiffs can happen at a later phase, so any issues of individual adequacy can
27
     be dealt with later. That is no reason to upend the status quo by adding a new track: any named plaintiff
28   can be subject to adequacy challenges.
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 1          Indeed, the Boies Schiller Complaint appears to have copied many passages verbatim from the
 2   operative PI/SD and AG Complaints in this MDL, including from Meta’s documents the Court ordered
 3   produced to the MDL Plaintiffs. The Complaint asserts claims for product liability, negligence, and
 4   violation of consumer protection statutes—all of which are asserted by the PI Plaintiffs or State AGs. The
 5   case is a putative class action in which the named plaintiff seeks to represent “[a]ll minors in the United
 6   States who use or have used Instagram during the Class Period” and all minors in certain states who have
 7   done so. The four Meta entities named as defendants in the Boies Schiller Complaint are all Defendants
 8   in this MDL. See generally id.
 9          Those overlapping allegations are precisely what the discovery already conducted in these cases
10   covers. Indeed, when the Court asked Boies Schiller to explain the purported differences between
11   Abraham and existing MDL cases, counsel was unable to point to anything meaningful, answering: “[l]ike
12   the nationwide injunctive relief for 18 and under. The other class is 13 and under. We think that’s
13   important. Also, you know, timing . . . . just preservation of data, you know, beyond certain bellwether
14   Plaintiffs; you know, issues of representative data; you know, those types of things that I think make this
15   case a little bit different.” 9/13/24 CMC Tr. at 59:4–13. In this CMC Statement, Boies Schiller similarly
16   attempts to build out immaterial variations across the complaints into reasons, wholly unpersuasive, as to
17   why the discovery conducted so far does not adequately cover their complaint.
18          Many MDL Plaintiffs are between ages 13 and 18, and discovery has included information
19   regarding Meta’s platforms and users in that category; Boies Schiller’s argument entirely ignores this
20   reality. For that reason, Boies Schiller’s myopic focus on the minor differences between their case and
21   others misses the forest for the trees: regardless of those immaterial variations, the discovery they claim
22   would flow uniquely from their complaint is adequately covered. In addition, the under-18 rationale is
23   factually wrong: one of the two already-existing putative class actions has a proposed class of all Facebook
24   users allegedly harmed, not just those under age 13. See Williams, Case No. 4:23-cv-04154-YGR,
25   Complaint (ECF 1) ¶ 11. Further, other cases in the MDL seek injunctive relief—including the States,
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 1   which span the country.17 And as to the Boies Schiller preservation claim, that is no reason to allow an
 2   individual personal injury claim to masquerade as a diversionary class action. In any event, the Parties
 3   held a year-long negotiations over a preservation order, and Boies Schiller was unable to coherently
 4   explain what additional preservation or discovery their individual claim merited when the Court asked
 5   them directly a second time at the last CMC. See 9/13/24 CMC Tr. at 59:17–60:1.18
 6   IX.     Parties’ Position Regarding Defendants Roblox and Discord
 7           Plaintiffs’ Counsel representing school districts and personal injury claimants with claims against
 8   Discord and Roblox have conferred with counsel for those defendants. No claims against these defendants
 9   are included in any bellwether case. Plaintiffs, Discord, and Roblox have agreed in principle to a stay of
10   current and future claims against these defendants while bellwether cases against Meta, Snap, TikTok and
11   Google are litigated. Plaintiffs, Discord, and Roblox plan on submitting an agreed proposed order to the
12   Court implementing a stay shortly.
13           Defendants Meta, Snap, TikTok, and Google have not been invited to these conferrals and have
14   not yet formulated their position on the stay proposal they first learned about on October 17, 2024.
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26     In making this point, Meta does not concede that nationwide injunctive relief is appropriate based on
     the AGs’ allegations and in light of limitations on state-law remedies.
27   18
       To the extent the Court is inclined to take action regarding the putative class actions, it should be
28   addressing motions to dismiss—not full-blown discovery coordination.
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 1
                                                ATTESTATION
 2
            I, Lexi J. Hazam, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence to the
 3
     filing of this document has been obtained from each signatory hereto.
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     Dated: October 18, 2024
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                                                  By: /s/ Lexi J. Hazam
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